
374 U.S. 98 (1963)
HENRY ET AL.
v.
VIRGINIA.
No. 29.
Supreme Court of United States.
Decided June 10, 1963.
ON PETITION FOR WRIT OF CERTIORARI TO THE SUPREME COURT OF APPEALS OF VIRGINIA.
Herbert O. Reid, Thurgood Marshall, Jack Greenberg and James M. Nabrit III for petitioners.
William J. Hassan and Peter J. Kostik for respondent.
PER CURIAM.
The petition for writ of certiorari is granted, the judgments are vacated and the case is remanded to the Supreme Court of Appeals of Virginia for reconsideration in light of Peterson v. City of Greenville, 373 U. S. 244.
MR. JUSTICE HARLAN concurs in the result on the premises stated in his separate opinion in Peterson v. City of Greenville and Avent v. North Carolina, 373 U. S., at 248.
